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                                          No. 15-1187
                                   ________________________

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                 ________________________

          Ricky Henson, Ian Glover, Karen Pacouloute f/k/a Karen Welcome Kuteyi and
             Paulette House, on behalf of themselves and all others similarly situated,
                                     Plaintiffs - Appellants,

                                                 v.

                                  Santander Consumer USA, Inc.,
                                       Defendant - Appellee.

                                                and

              NCB Management Services, Inc.; Commercial Recovery Systems, Inc.
                                       Defendants.
                              ________________________

            On Appeal from the United States District Court for the District of Maryland
                                          No. 12-3519
                                _________________________

                                  BRIEF OF APPELLANTS
                                 __________________________


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                                STATEMENT OF JURISDICTION

              Appellants Ricky Henson ("Henson"), Ian Matthew Glover ("Glover"),

        Karen Pacouloute f/k/a Karen Welcome Kuteyi ("Pacouloute") and Paulette House

        ("House")    (collectively   "Appellants"),       filed   a   Class   Action   Complaint

        ("Complaint") in the United States District Court for the District of Maryland

        against Appellee Santander Consumer USA, Inc. ("Santander"), Defendants NCB

        Management Services, Inc. ("NCB Management") and Commercial Recovery

        Systems, Inc. ("Commercial Recovery") alleging violations of the Fair Debt

        Collection Practices Act, 15 U.S.C. § 1692 et. seq. ("FDCPA").1 Joint Appendix

        5-22 (hereinafter "JA").      Appellants alleged jurisdiction under 15 U.S.C. §

        1692k(d) and 28 U.S.C. § 1331.          Appellee and Defendants did not oppose

        jurisdiction in the District Court.

              The United States District Court for the District of Maryland entered a

        Memorandum Opinion and Order on May 6, 2014 dismissing all claims against

        Appellee Santander and Defendant NCB Management but staying any ruling

        related to Defendant Commercial Recovery pending resolution of its bankruptcy

        proceeding. JA 23-39. The District Court entered a Memorandum Opinion and

        Final Order on February 2, 2015 granting Appellants Motion for Entry of Final

        Judgment with respect to all claims against Santander. JA 40-52. Under FED. R.

              1
                Pursuant to FED. R. APP. P. 28(f), an addendum containing the text of the
        relevant statutory provisions are set forth beginning at page A-1 of this brief.
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        CIV. P. 54(b), the Final Order entered on February 2, 2015 is an appealable final

        judgment against Santander even though it did not dispose of the entire case

        against Defendants NCB Management and Commercial Recovery.             The only

        Defendant on appeal is Appellee Santander. Appellants filed a timely Notice of

        Appeal on February 20, 2015. JA 53; FED. R. APP. P. 4(a)(4). This Court has

        jurisdiction pursuant to 28 U.S.C. § 1291.




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                                  STATMENT OF THE ISSUE

              Whether a commercial entity that purchases a consumer debt from the

        originating creditor after default and attempts to collect on the defaulted debt is a

        "debt collector" under the FDCPA § 1692a(6)? [Yes.]




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                                  STATEMENT OF THE CASE

              This consumer class action was filed by Appellants against Santander

        alleging multiple violations of the FDCPA for alleged abusive debt collection

        activities undertaken by Santander and its agents. The FDCPA proscribes certain

        debt collection activities and requires disclosure of certain information to

        consumers when a "debt collector" is attempting to collect a consumer debt.

        Appellants alleged that the original creditor hired Santander to collect from

        Appellants after each of their consumer debts were in default and that sometime

        thereafter when each of Appellants' debts were still in default Santander purchased

        the debts and began attempting to collect the defaulted debts in its own name. This

        appeal does not concern whether Appellants properly alleged that Santander or the

        other Defendants substantively violated the FDCPA. The sole issue on appeal is

        whether Appellants properly alleged that Santander is a "debt collector" with

        respect to Santander's attempts to collect on Appellants' defaulted consumer debts

        after it purchased the defaulted debts from the original creditor.

              Santander filed a Motion to Dismiss in the District Court arguing that it was

        not a "debt collector" and therefore not subject to the FDCPA. Rather, Santander

        asserted that it was a "creditor" with respect to its debt collection activities against

        Appellants because Santander purchased the consumer debts and was not

        attempting to collect from Appellants on behalf of another. The District Court


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        granted the Motion to Dismiss holding that Santander was not a "debt collector"

        subject to the FDCPA because Santander purchased the debt and was attempting to

        collect the defaulted consumer debts on behalf of itself. Appellants appeal the

        District Court's decision dismissing the case.




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                                 STATEMENT OF THE FACTS

        I.    APPELLANTS   FINANCED   MOTOR                              VEHICLES  AND
              SUBSEQUENTLY   DEFAULTED  ON                              THE  REPAYMENT
              OBLIGATIONS

              Appellants are Maryland consumers who purchased motor vehicles secured

        by financing agreements assigned originally to CitiFinancial Auto Credit, Inc.,

        CitiFinancial Auto Corp. or CitiFinancial Auto, LTD ("CitiFinancial Auto"). JA

        10. Appellants each defaulted on their repayment obligations under the financing

        agreements and CitiFinancial Auto repossessed each motor vehicle securing the

        repayment obligations.    JA 10-11.    CitiFinancial Auto sold Appellants' motor

        vehicles after repossession and claimed that a deficiency balance remained due and

        owing on each credit account after the repossession sale. JA 11.

        II.   CLASS ACTION LAWSUIT                         AND      SETTLEMENT      WITH
              CITIFINANCIAL AUTO

              A class action lawsuit was filed against CitiFinancial Auto ("Thomas Class

        Action") alleging that CitiFinancial Auto failed to provide adequate and sufficient

        notices to Maryland consumers prior to the sale of repossessed motor vehicles. JA

        11. The Thomas Class Action challenged the amount due on each class member

        account. The District Court entered an order preliminarily approving a settlement

        and appointing class counsel to represent all Class Members on November 14,

        2011 and later granted final approval of the settlement after a fairness hearing. JA

        12. Specifically excluded from the Thomas Class Action settlement was "any
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        claims of Settlement Class Members that may be asserted against Santander

        Consumer USA Inc. or any of its related entities, or any person or entities

        collecting on their behalf, arising from efforts to collect on Settlement Class

        Members' accounts on or after December 1, 2011 . . . ." JA 12. Appellants were

        all members of the class in the Thomas Class Action. JA 12.

        III.      CITIFINANCIAL AUTO HIRED SANTANDER TO ATTEMPT TO
                  COLLECT THE DEFAULTED DEBTS FROM APPELLANTS AND
                  SUBSEQUENTLY SOLD THE DEFAULTED DEBTS TO
                  SANTANDER

                  Unable to collect on its customers defaulted accounts, CitiFinancial Auto

        hired Santander to collect on its behalf more than three thousand defaulted debts

        including Appellants.      JA 12.     No later than December 1, 2011, Santander

        purchased the more than three thousand defaulted debts including Appellants and

        began attempting to collect on the defaulted debts from Appellants on behalf of

        itself.    JA 12-13.    Santander acquired thousands of defaulted consumer debt

        accounts for a few cents on the dollar. JA 7. On or before December 1, 2011,

        Santander had knowledge that Thomas Class Action accounts were the subject of

        the Thomas Class Action lawsuit and settlement and that an order preliminarily

        approving the Thomas Class Action settlement and appointing class counsel for all

        class members was entered. JA 13. Santander also hired Defendants NCB and

        CRS to collect the defaulted debts from Appellants. JA 14-15.



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        IV.     SANTANDER'S DEBT COLLECTION ACTIVITIES

                Appellants alleged that on or after December 1, 2011, Santander initiated

        communications with Appellants and other consumers in an attempt to collect on

        the defaulted debts with knowledge that each consumer was represented by an

        attorney regarding the alleged debts. JA 13. Appellants also alleged that during

        these     communications     with    attorney      represented    consumers,   Santander

        misrepresented the amount of the alleged debt and that it was entitled to collect on

        the alleged debt. JA 13. In addition, Appellants alleged that Santander is liable for

        the actions of its debt collection agents Defendants NCB and Commercial

        Recovery both directly and vicariously. JA 7.

        V.      THE DISTRICT COURT'S DECISION

                The United States District Court granted Santander's Motion to Dismiss

        because it found that with respect to Appellants' defaulted consumer debts,

        Santander was a "creditor" (§ 1692a(4)) rather than a "debt collector" (§ 1692a(6))

        under the FDCPA. JA 27-34. More specifically, the United States District Court

        ruled that an entity that collects debt in its own name for itself and whose primary

        business purpose is not debt collection is not a "debt collector" under the FDCPA

        even if the debt was acquired after default. JA 28. Although the court asserted

        that Appellants failed to plausibly allege that Santander was a "debt collector," this

        assertion is based solely on the Court's statutory interpretation of the terms "debt


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        collector" and "creditor" under the FDCPA.           In reaching this conclusion, the

        District Court failed to discuss or distinguish any of the federal appellate

        authorities from the numerous Circuits having already decided this issue directly to

        the contrary.




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                                  SUMMARY OF ARGUMENT

              The District Court's conclusion that Santander was not a "debt collector"

        under the FDCPA § 1692a(6) is wrong as a matter of law. The terms "debt

        collector" and "creditor" are mutually exclusive under the FDCPA. An entity can

        be either a "debt collector" or a "creditor" in any particular transaction. The

        determining factor of whether an entity is a "debt collector" or "creditor" in any

        particular transaction when the entity in question is not the originating lender is

        whether the debt was acquired prior to default or after default. Since Santander

        acquired Appellants' debts from the original lender well after each Appellant

        defaulted on their debt, Santander's collection activities on these defaulted debts

        makes it a "debt collector."




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                                           ARGUMENT

        STANDARD OF REVIEW

              This Court reviews de novo the dismissal of a complaint for failure to state a

        claim but must accept "as true the facts as alleged in the complaint, view[] them in

        the light most favorable to the plaintiff, and recognize[] that dismissal is

        inappropriate 'unless it appears to a certainty that the plaintiff would be entitled to

        no relief under any state of facts which could be proved in support of his claim.'"

        American Chiropractic v. Trigon Healthcare, 367 F.3d 212, 221 (4th Cir. 2004)

        (quoting Mylan Lab., Inc. v. Matkari, 7 F.3d 1130, 1134 n.4 (4th Cir. 1993) ("a

        rule 12(b)(6) motion should be granted only in very limited circumstances"));

        Hishon v. King & Spalding, 467 U.S. 69, 73 (1984) (stating that dismissal for

        failure to state a claim is proper "only if it is clear that no relief could be granted

        under any set of facts that could be proved consistent with the allegations")). This

        Court reviews de novo a district court's determinations related to questions of law

        and legal conclusions. United States v. Brown, 232 F.3d 399, 403 (4th Cir. 2000);

        United States v. Layton, 564 F.3d 330, 334 (4th Cir. 2009). Similarly, this Court

        reviews de novo a question of statutory interpretation, which is a question of law.

        Stone v. Instrumentation Laboratory Co., 591 F.3d 239 (4th Cir. 2009); United

        States v. Turner, 389 F.3d 111, 119 (4th Cir. 2004).




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        I.    THE FDCPA APPLIES TO "DEBT COLLECTORS"

              The FDCPA is a comprehensive consumer protection statute that

        "safeguards consumers from abusive and deceptive debt collection practices by

        debt collectors." Bradshaw v. Hilco Receivables, LLC, 765 F. Supp. 2d 719, 724

        (D. Md. 2011). In furtherance of this mission, Congress identified two types of

        entities that collect debts: (1) debt collectors [15 U.S.C. § 1692a(6)]; and (2)

        creditors [15 U.S.C. § 1692a(4)]. The FDCPA applies to restrict and punish the

        actions of "debt collectors" and generally exempts "creditors" from coverage.

              An entity can be a "debt collector" with respect to one debt and a "creditor"

        with respect to another debt. With respect to any specific debt, however, an entity

        is either a "debt collector" or a "creditor" because these two terms are mutually

        exclusive. FTC v. Check Investors, Inc., 502 F. 3d 159, 173 (3d Cir. 2007); Bridge

        v. Ocwen Federal Bank, FSB, 681 F.3d 355, 359 (6th Cir. 2012).

              The FDCPA defines a "debt collector" in relevant part as:

                    any person who uses any instrumentality of interstate
                    commerce or the mails in any business the principal
                    purpose of which is the collection of any debts, or who
                    regularly collects or attempts to collect, directly or
                    indirectly, debts owed or due or asserted to be owed or
                    due another. Notwithstanding the exclusion provided by
                    clause (F) of the last sentence of this paragraph, the term
                    includes any creditor who, in the process of collecting his
                    own debts, uses any name other than his own which
                    would indicate that a third person is collecting or
                    attempting to collect such debts . . . . The term does not
                    include— . . .
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                     (F) any person collecting or attempting to collect any
                     debt owed or due or asserted to be owed or due another
                     to the extent such activity . . . (ii) concerns a debt which
                     was originated by such person; [or] (iii) concerns a debt
                     which was not in default at the time it was obtained by
                     such person[.]"


        15 U.S.C. § 1692a(6). The "debt collector" definition sets forth the baseline of

        debt collection activities that a person must undertake in order to become subject to

        the strict requirements of the FDCPA.         In other words, a person is a "debt

        collector" only if regularly attempting to collect "debts owed or due" to itself or

        "asserted to be owed or due another" as long as the debt was in default when the

        person obtained it and the debt was not originated by that person.

              The FDCPA defines a "creditor" in relevant part as:

                     any person who offers or extends credit creating a debt or
                     to whom a debt is owed, but such term does not include
                     any person to the extent he receives an assignment or
                     transfer of a debt in default solely for the purpose of
                     facilitating collection of such debt for another.

        15 U.S.C. § 1692a(4). The FDCPA distinguishes between "debt collectors" and

        "creditors" and defines each in a way to comport with Congress' determination that

        consumers did not need special protections from "creditors" because they "are

        generally restrained by the desire to protect their good will when collecting past

        due accounts," while "debt collectors" may have "no future contact with the

        consumer and often are unconcerned with the consumer's opinion of them." S.
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        Rep. 95-382, 95th Cong., 1st Sess. at 2, reprinted in 1977 U.S.C.C.A.N. 1695,

        1696 (1977).

              For this reason, an assignee of an originating lender and any servicer fall

        under the definition of "debt collector" if the person obtained the debt after it was

        in default. To the contrary, an originating lender, an assignee of the originating

        lender and any servicer fall under the definition of "creditor" as long as the debt

        collection activities began prior to default. The originating lender, any assignee

        and any servicer that obtain the debt prior to default fall under the definition of

        "creditor" even though they are collecting a debt because “[i]f the one who

        acquired the debt continues to service it, it is acting much like the original creditor

        that created the debt. On the other hand, if it simply acquires the debt for

        collection, it is acting more like a debt collector.” Schlosser v. Fairbanks Capital

        Corp., 323 F.3d 534, 536 (7th Cir.2003).

        II.   NON-ORIGINATING DEBT SERVICERS AND NON-ORIGINATING
              DEBT BUYERS THAT OBTAIN DEBTS AFTER DEFAULT ARE
              "DEBT COLLECTORS" UNDER THE FDCPA

              An entity that obtains a debt from another for servicing while the originating

        lender or subsequent assignee maintains ownership of the debt ("non-originating

        debt servicer") and an entity that obtains a debt from another by way of purchase

        agreement to collect the debt on its own behalf ("non-originating debt buyer") are

        "debt collectors" or "creditors" under the FDCPA depending on the repayment


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        status of the debt at the time the debt is obtained. If the debt is in default at the

        time it is obtained than the non-originating debt servicer and non-originating debt

        buyer are "debt collectors." If the consumer is current in repaying the debt at the

        time it is obtained than the non-originating debt servicer and non-originating debt

        buyer are "creditors[.]"

              It is universally understood that a non-originating debt servicer that obtains a

        debt in default is a "debt collector" under the FDCPA. The Third Circuit, Sixth

        Circuit, Seventh Circuit and each federal government agency tasked with

        enforcement of the FDCPA have also conclusively held that a non-originating debt

        buyer is a "debt collector" under the FDCPA when it obtains the debt after default.

              A.     Non-Originating Debt Servicer

              The FDCPA's definitions of "debt collector" and "creditor" along with the

        FDCPA's legislative history clearly require the conclusion that a non-originating

        debt servicer that acquires a debt in default is a "debt collector[.]" The term "debt

        collector" excludes "any person collecting or attempting to collect any debt owed

        or due or asserted to be owed or due another to the extent such activity . . . (iii)

        concerns a debt which was not in default at the time it was obtained by such

        person." 15 U.S.C. § 1692a(6)(F). The term "creditor" excludes "any person to

        the extent that he receives an assignment or transfer of a debt in default solely for

        the purpose of facilitating collection of such debt for another."       15 U.S.C. §


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        1692a(4). Therefore, a non-originating debt servicer falls within the definition of a

        "debt collector" and is not otherwise excluded from that definition and is

        specifically excluded from the definition of a "creditor" when obtaining the debt

        after default.

               These two definitions read together make it clear that a non-originating debt

        servicer is a "debt collector" when the debt is obtained after default and a

        "creditor" when the debt is obtained prior to default. This conclusion is supported

        by the FDCPA's legislative history and case law from around the country. See S.

        Rep. 95-382, 95th Cong., 1st Sess. 4, reprinted in 1977 U.S.C.C.A.N. 1695, 1698

        (1977) ("the committee does not intend the definition [of debt collector] to cover

        mortgage service companies and others who service outstanding debts for others,

        so long as the debts were not in default when taken for servicing"); Perry v.

        Stewart Title Co., 756 F.2d 1197, 1208 (5th Cir. 1985) ("legislative history of

        section 1692a(6) indicates conclusively that a debt collector does not include the

        consumer's creditors, a mortgage servicing company, or an assignee of a debt, as

        long as the debt was not in default at the time it was assigned"); Pollice v. National

        Tax Funding, L.P., 225 F.3d 379, 403-04 (3d Cir. 2000); Wadlington v. Credit

        Acceptance Corp., 76 F.3d 103, 106-07 (6th Cir. 1996); Bridge v. Ocwen Federal

        Bank, FSB, 681 F.3d 355, 360 n.4 (6th Cir. 2012) ("a loan servicer will become a

        debt collector under 15 U.S.C. § 1692a(6)(F)(iii) if the debt was in default or


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        treated as such when it was acquired"); Zervos v. Ocwen Loan Servicing, LLC,

        2012 WL 1107689 at 3 (D. Md. Mar. 29, 2012) (stating that a non-originating debt

        servicer is a "debt collector" when the "loan servicer acquires a loan after it has

        already gone into default"); Allen v. Bank of America Corp., 2011 WL 3654451 at

        *7 n. 9 (D. Md. Aug. 18, 2011) (stating that "[w]here a servicer believes a loan to

        be in default at the time it commences servicing, however, courts have found it is

        not exempt from the FDCPA's definition of 'debt collector.'"). Santander conceded

        this point to the District Court. District Court Docket #9 at 6.

              Accordingly, a non-originating debt servicer that obtains a debt for servicing

        when the debt was already in default is a "debt collector" under the FDCPA for

        that specific debt.

              B.     Non-Originating Debt Buyer

              A non-originating debt buyer is a "debt collector" under the FDCPA when it

        obtains a debt after default. In order to determine whether a non-originating debt

        buyer is subject to the FDCPA, this Court must first determine if a non-originating

        debt buyer falls within the FDCPA's definition of "debt collector" and if so

        whether a non-originating debt buyer is excluded from that definition in any way.

              The FDCPA defines a "debt collector" broadly enough to include the entity

        originating the debt ("debt originator"), any subsequent purchaser of the debt

        ("non-originating debt buyer") and any debt servicer. 15 U.S.C. § 1692a(6) ("any


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        person who uses . . . the mails in any business . . . who regularly . . . attempts to

        collect[] debts owed or due or asserted to be owed or due another"). It is Plaintiffs'

        position that "debt collector" includes a debt that is either: (1) owed or due

        (including debt originator and any non-originating debt buyer); or (2) asserted to

        be owed or due another (including debt servicer).

              After casting the net broadly enough to capture debt originators, non-

        originating debt buyers and debt servicers, the definition of "debt collector"

        specifically excludes the debt originator from liability under the FDCPA except

        when the debt originator attempts to collect the debt by using a third-party name.

        15 U.S.C. § 1692a(6)(F)(ii) (the terms "debt collector" excludes "any person

        collecting or attempting to collect any debt owed or due or asserted to be owed or

        due another to the extent such activity . . . (ii) concerns a debt which was

        originated by such person") and 15 U.S.C. § 1692a(6) (stating that

        "[n]otwithstanding the exclusion provided by [15 U.S.C. § 1692a(6)(F)], the term

        ["debt collector"] includes any creditor who, in the process of collecting his own

        debts, uses any name other than his own which would indicate that a third person is

        collecting or attempting to collect such debts").

              Moreover, the definition of "debt collector" specifically excludes the non-

        originating debt buyer from liability under the FDCPA only when the non-

        originating debt buyer acquires "a debt which was not in default at the time it was


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        obtained by such person[.]" 15 U.S.C. § 1692a(6)(F)(iii). There would have been

        no reason to specifically exclude the debt originator and the non-originating debt

        buyer from the definition of "debt collector" if the debt originator and non-

        originating debt buyer were not initially included within the universe of entities

        included within that definition. Kimber v. Federal Financial Corp., 668 F. Supp.

        1480, 1485 (M.D. Ala. 1987).

              To the contrary, a non-originating debt buyer that purchases a debt in default

        is not specifically excluded from the definition of "creditor" because the non-

        originating debt buyer already falls under the definition of "debt collector[.]"

        Therefore, by definition, a non-originating debt buyer obtaining a debt after default

        cannot be a "creditor[.]" Accordingly, a non-originating debt buyer that obtains a

        debt in default is a "debt collector" and subject to liability under the FDCPA.

        Numerous Federal Appellate Courts and each federal government agency tasked

        with enforcement of the FDCPA have reached this identical conclusion.

              In Schlosser v. Fairbanks Capital Corp., 323 F.3d 534 (7th Cir. 2003), a

        consumer obtained a mortgage from a debt originator. After default, the debt

        originator sold the consumer's mortgage obligation to a non-originating debt buyer.

        The consumer alleged causes of action under the FDCPA and the Seventh Circuit

        Court of Appeals was called on to determine whether a non-originating debt buyer

        that obtains a debt in default is a "debt collector" under the FDCPA. The Seventh


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        Circuit analyzed the definition of "debt collector" under 15 U.S.C. § 1692a(6) and

        any applicable exclusion thereto contained in 15 U.S.C. § 1692a(6)(F) and

        determined that a non-originating debt buyer is classified as a "debt collector" or

        "creditor" under the FDCPA based on "the status of the debt at the time of the

        assignment[.] In other words, the Act treats assignees as debt collectors if the debt

        sought to be collected was in default when acquired by the assignee, and as

        creditors if it was not."    Schlosser, 323 F.3d at 536.       The Seventh Circuit

        reinforced its statutory interpretation with the policy choice Congress made in

        setting the default status of the debt as the determining factor of whether a non-

        originating debt buyer is a "debt collector" or a "creditor" under the FDCPA:

                     Focusing on the status of the obligation asserted by the
                     assignee is reasonable in light of the conduct regulated by
                     the statute. For those who acquire debts originated by
                     others, the distinction drawn by the statute—whether the
                     loan was in default at the time of the assignment—makes
                     sense as an indication of whether the activity directed at
                     the consumer will be servicing or collection. If the loan is
                     current when it is acquired, the relationship between the
                     assignee and the debtor is, for purposes of regulating
                     communications and collection practices, effectively the
                     same as that between the originator and the debtor. If the
                     loan is in default, no ongoing relationship is likely and
                     the only activity will be collection.

        Id. at 538. The Seventh Circuit has reached this identical conclusion on several

        different occasions. Bailey v. Security Nat'l Servicing Corp., 154 F.3d 384, 387

        (7th Cir. 1998); Ruth v. Triumph Partnerships, 577 F.3d 790, 796 (7th Cir. 2009)


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        ("the party seeking to collect a debt did not originate it but instead acquired it from

        another party, we have held that the party's status under the FDCPA turns on

        whether the debt was in default at the time it was acquired"); McKinney v.

        Cadleway Properties, 548 F.3d 496, 501 (7th Cir. 2003) (holding that a non-

        originating debt buyer that attempts to collect on a debt that was in default when it

        was acquired is a debt collector under the FDCPA "even though it owns the debt

        and is collecting for itself").

               In FTC v. Check Investors, Inc., 502 F. 3d 159 (3d Cir. 2007), a large group

        of consumers drafted checks that were not covered by deposited funds. Multiple

        third-party companies guaranteed these checks for merchants in exchange for all

        rights in collecting any insufficient funds checks which were considered debts

        under the FDCPA. The third-party companies originally hired Check Investors to

        collect the debts on their behalf. Assuming that it could skirt the requirements of

        the FDCPA and use deceptive and harassive debt collection techniques by

        acquiring the debts and collecting in its own name, Check Investors began buying

        these insufficient funds checks from the third-party companies for pennies on the

        dollar.

               Check Investors as a non-originating debt buyer argued that it was not

        subject to the FDCPA because "they are actually 'creditors' collecting debts

        actually owed to them, as opposed to 'debt collectors' collecting obligations owed


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        to someone else." Id. at 172 (citations omitted). The Third Circuit found that

        "pursuant to § 1692a, Congress has unambiguously directed our focus to the time

        the debt was acquired in determining whether one is acting as a creditor or debt

        collector under the FDCPA." Id. at 173. The Third Circuit held that under the

        FDCPA a non-originating debt buyer that acquires a debt prior to default is a

        "creditor" and if that same entity acquires a debt after default it is a "debt

        collector[.]" Id. at 173 (citing Pollice v. National Tax Funding, L.P., 225 F.3d 379,

        403-04 (3d Cir. 2000)).

              The Sixth Circuit was presented with similar facts regarding a claim under

        the FDCPA against a non-originating debt servicer and a non-originating debt

        buyer and was required to determine when these entities are considered "debt

        collectors" under the FDCPA. Bridge v. Ocwen Federal Bank, FSB, 681 F.3d 355

        (6th Cir. 2012). The Sixth Circuit determined that:

                     The distinction between a creditor and a debt collector
                     lies precisely in the language of § 1692a(6)(F)(iii). For an
                     entity that did not originate the debt in question but
                     acquired it and attempts to collect on it, that entity is
                     either a creditor or a debt collector depending on the
                     default status of the debt at the time it was acquired. The
                     same is true of a loan servicer, which can either stand in
                     the shoes of a creditor or become a debt collector,
                     depending on whether the debt was assigned for
                     servicing before the default or alleged default occurred.
                     This interpretation of the Act is supported by Congress's
                     intent in passing it.


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        Id. at 359 (citations omitted). The Sixth Circuit found that the non-originating debt

        servicer and non-originating debt buyer were "debt collectors" under the FDCPA

        because they each obtained the debt after it was in default. See also Ransom v.

        Telecredit Service Corp., 1992 US Dist. LEXIS 22738, at *11-22 (D. Md. Feb. 5,

        1992) (finding that a non-originating debt buyer falls under the definition of "debt

        collector" and is subject to liability under the FDCPA when the non-originating

        debt buyer acquires the "debt in default"); and Ademiluyi v. Pennymac Mortgage

        Investment Trust Holdings I, LLC, 929 F. Supp. 2d 502, 524-6 (D. Md. 2013)

        (holding that a non-originating debt buyer that acquired debts after default "is a

        debt collector" where a non-originating debt buyer argued that it was a "creditor"

        and not a "debt collector" under the FDCPA).           The Fourth Circuit has not

        published any opinions on the issue of when a non-originating debt buyer is a "debt

        collector" under the FDCPA.

              In addition, the federal government has repeatedly taken the position that a

        non-originating debt buyer that obtains a debt after default is a debt collector under

        the FDCPA.      See, e.g., FTC Report, Repairing a Broken System: Protecting

        Consumers in Debt Collection Litigation and Arbitration, p. 6 n. 15 (2010)

        (available at www.ftc.gov/os/2010/07/debtcollectionreport.pdf) (last visited May 8,

        2015) (“Debt buyers – persons who collect debt on their own behalf that they have

        purchased from creditors or debt collectors – are covered by the FDCPA if the


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        accounts were in default at the time the debt buyers purchased them. FDCPA §§

        803(4), 803(6); 15 U.S.C. §§ 1692a(4), 1692a(6)"); and Consumer Financial

        Protection Bureau, 2013 FDCPA Annual Report, at 14 n.14 (available at

        http://files.consumerfinance.gov/f/201303_cfpb_March_FDCPA_Report1.pdf)

        (stating that the FDCPA applies to "debt buyers collecting on debts they purchased

        in default"). The FTC presented and prevailed on this identical argument in the

        Third Circuit in FTC v. Check Investors, Inc., 502 F. 3d 159 (3d Cir. 2007). This

        administrative construction of the FDCPA on the exact issue pending before this

        Court is entitled to deference. Chevron, U.S.A., Inc. v. Natural Resources Defense

        Council, Inc., 467 U.S. 837 (1984).

              Accordingly, the great weight of appellate courts and government regulatory

        agencies have held that a non-originating debt buyer that purchases a defaulted

        debt is a "debt collector" under the FDCPA with respect to that specific debt.

         III. SANTANDER IS A "DEBT COLLECTOR" WITH RESPECT TO
              EACH APPELLANT

              A.     Non-Originating Debt Servicer

              The Court can logically conclude that Santander was not the original

        servicer from the allegations of the Complaint. Rather, Santander was a non-

        originating debt servicer that began servicing the debts after Appellants were

        already in default. JA 12. Santander does not dispute that Appellants' debts were

        already in default at the time the debts were obtained by Santander for servicing.
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        In accordance with the statutory language defining "debt collector" and "creditor"

        and the unbroken line of cases including Perry, 756 F.2d at 1208, Pollice, 225 F.3d

        at 403-04 and Wadlington, 76 F.3d at 106-07, therefore, Santander as a non-

        originating debt servicer that obtained the debts after they were already in default

        is a "debt collector" under the FDCPA.            See discussion supra at Section

        ARGUMENT at II(A).

              Santander does not dispute that a non-originating debt servicer is a "debt

        collector" under the FDCPA when the entity obtains a debt already in default when

        the non-originating debt servicer will collect "for another." District Court Docket

        #9 at 6 (stating "the holder of a debt . . . may not be protected from liability under

        the FDCPA . . . if the debt was acquired after it was in default and only if the debt

        was obtained 'solely for the purpose of facilitating collection of the debt of

        another.'") (citations omitted). Therefore, Santander has acknowledged its status as

        a "debt collector" with respect to Appellants' debts because Appellants alleged that

        Santander obtained the right to act on behalf of CitiFinancial Auto as a non-

        originating debt servicer after the debts were already in default. JA 12. The

        FDCPA clearly requires the Court to determine whether the debt was in default on

        the date the non-originating debt servicer first obtained the right to collect in order

        to classify the entity is a "debt collector" or "creditor" under the FDCPA. In this

        case, by its own admission, Santander was a "debt collector" when it obtained the


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        right to collect on behalf of CitiFinancial Auto as a non-originating debt servicer

        after Appellants' debts were already in default. Schlosser, 323 F.3d at 536-38

        (stating that the default inquiry must be undertaken from the time the debt was

        obtained).

              Appellants class definition, however, only cover the time frame after which

        Santander purchased the debts and began collecting in its own name. As explained

        herein, Santander is a "debt collector" with respect to Appellants' debts as a non-

        originating debt buyer that purchased the debts after default. The Court need not

        even reach this legal argument, however, because Santander first obtained the debt

        for collection as a non-originating debt servicer at a time when the debts were

        already in default. JA 12.

              It would be a strange result for a non-originating debt servicer actively

        participating in debt collection activities with respect to specific defaulted debts

        and classified as a "debt collector" under the FDCPA to immunize itself from

        FDCPA liability by simply purchasing the defaulted debts it already sought to

        collect "for another." The FDCPA precludes this result. See Zervos v. Ocwen

        Loan Servicing, LLC, 2012 WL 1107689 at 3 n. 1 (D. Md. Mar. 29, 2012). In

        order for this Court to hold that Santander is not a "debt collector" with respect to

        Appellants' defaulted debts, this Court would have to create a loophole in the

        FDCPA that allows an entity acting as a "debt collector" while servicing a


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        defaulted debts to become a "creditor" simply by purchasing the defaulted debt it

        was collecting for another.     This is not what Congress intended and not in

        conformance with the interpretation of appellate circuits to have reviewed this

        issue. If this Court were to accept Santander's argument that it is not a "debt

        collector" under the FDCPA with respect to Appellants' debts, this Court will bust

        a hole so deep into the FDCPA that all non-originating debt buyers would be

        absolved from conformance with the FDCPA-the exact group of "debt collectors"

        Congress sought to restrain.

              Santander was a "debt collector" as a non-originating debt servicer when it

        obtained the right to collect on behalf of CitiFinancial Auto after Appellants' debts

        were in default and the protections of the FDCPA remained in place when

        Santander purchased the debts and became the non-originating debt buyer because

        Appellants' debts remained in default.

              B.     Non-Originating Debt Buyer

              This Court can also logically conclude that Santander was not the originating

        lender from the allegations of the Complaint. JA 10 and 12. After a period of time

        acting as the non-originating debt servicer, Santander became a non-originating

        debt buyer while Appellants' debts continued to be in default. JA 12. Santander

        does not dispute that Appellants' debts were already in default at the time the debts

        were obtained by Santander by way of purchase agreement. In accordance with


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        the FDCPA's statutory language, the holdings from the Third (Check Investors, 502

        F. 3d 159), Sixth (Bridge, 681 F.3d 355) and Seventh (Schlosser, 323 F.3d 534)

        Circuits and the FTC and Consumer Financial Protection Bureau's authoritative

        interpretations, Santander as a non-originating debt buyer that obtained debts that

        were already in default is a "debt collector" under the FDCPA. See discussion

        supra at Section ARGUMENT II(B).

                                          CONCLUSION

              For the reasons set forth herein, Appellants properly alleged that Santander

        was a "debt collector" under the FDCPA with respect to the defaulted consumer

        debts at issue on this appeal. Appellants request that this Court reverse the Order

        Granting Santander's Motion to Dismiss and remand this case back to the United

        States District Court for the District of Maryland for further proceedings.

              Respectfully submitted this 12th day of June, 2015.

                                               _/s/__Cory L. Zajdel_____________
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                      STATEMENT REGARDING ORAL ARGUMENT

              Pursuant to FEDERAL RULE        OF    APPELLATE PROCEDURE 34, Appellants

        respectfully request oral argument. This case presents an important issue that

        relates to which entities are subject to the strict controls of the FDCPA. Whether a

        non-originating entity that acquires a debt after default is a "debt collector" under

        the FDCPA is regularly litigated across the country and within the United States

        District Courts in the Fourth Circuit. Although many United States Circuit Courts

        have issued published opinions holding that non-originating entities that acquire a

        debt after default are "debt collectors" under the FDCPA, the Fourth Circuit has

        never directly addressed this issue and oral argument may be helpful to further

        explain the relationship between a "debt collector" and "creditor" under the

        FDPCA.

              The question at issue in this case is complex and involves the interpretation

        of a significant consumer protection statute. In light of the far-reaching

        implications of these issues, the tens of thousands of transactions this case could

        impact within the Fourth Circuit and the more than three thousand consumers

        Appellants seek to represent in this case, Appellants respectfully request the

        opportunity to present oral argument in this matter.




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                               CERTIFICATE OF COMPLIANCE


        1.    This brief complies with the type-volume limitation of FED. R. APP. P.
              28.1(e)(2) or 32(a)(7)(B) because this brief contains 5,817 words,
              excluding the parts of the brief exempted by   Fed.    R.   App.    P.
              32(a)(7)(B)(iii).

        2.    This brief complies with the typeface requirements of FED. R. APP. P.
              32(a)(5) and the type style requirements of FED. R. APP. P. 32(a)(6) because
              this brief has been prepared in a proportionally spaced typeface using
              Microsoft Office Word 2007 in 14pt Times New Roman.


        Dated: June 12, 2015                         _/s/ Cory L. Zajdel_____________
                                                     Counsel for Plaintiffs-Appellants




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                            CERTIFICATE OF FILING AND SERVICE

              I hereby certify that on this 12th day of June, 2015, I caused this Brief of

        Appellants and the Joint Appendix to be filed electronically with the Clerk of the

        Court using the CM/ECF System, which will send notice of such filing to the

        following registered CM/ECF users:

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              I further certify that on the 12th day of June, 2015, I will cause the required

        number of bound copies of the foregoing Brief of Appellant and Joint Appendix to

        be placed in the mail via USPS Priority Mail to be filed with the Clerk of this

        Court and to all case participants, at the above listed addresses.


                                                       _/s/ Cory L. Zajdel_____________
                                                       Counsel for Plaintiffs-Appellants




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                                                         ADDENDUM



        15 U.S.C. § 1692a .................................................................................................. A-2




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                   FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. § 1692a


        As used in this subchapter—

        (1) The term “Bureau” means the Bureau of Consumer Financial Protection.

        (2) The term “communication” means the conveying of information regarding a
        debt directly or indirectly to any person through any medium.

        (3) The term “consumer” means any natural person obligated or allegedly
        obligated to pay any debt.

        (4) The term “creditor” means any person who offers or extends credit creating a
        debt or to whom a debt is owed, but such term does not include any person to the
        extent that he receives an assignment or transfer of a debt in default solely for the
        purpose of facilitating collection of such debt for another.

        (5) The term “debt” means any obligation or alleged obligation of a consumer to
        pay money arising out of a transaction in which the money, property, insurance, or
        services which are the subject of the transaction are primarily for personal, family,
        or household purposes, whether or not such obligation has been reduced to
        judgment.

        (6) The term “debt collector” means any person who uses any instrumentality of
        interstate commerce or the mails in any business the principal purpose of which is
        the collection of any debts, or who regularly collects or attempts to collect, directly
        or indirectly, debts owed or due or asserted to be owed or due another.
        Notwithstanding the exclusion provided by clause (F) of the last sentence of this
        paragraph, the term includes any creditor who, in the process of collecting his own
        debts, uses any name other than his own which would indicate that a third person is
        collecting or attempting to collect such debts. For the purpose of section 1692f(6)
        of this title, such term also includes any person who uses any instrumentality of
        interstate commerce or the mails in any business the principal purpose of which is
        the enforcement of security interests. The term does not include—

               (A) any officer or employee of a creditor while, in the name of the creditor,
        collecting debts for such creditor;



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               (B) any person while acting as a debt collector for another person, both of
        whom are related by common ownership or affiliated by corporate control, if the
        person acting as a debt collector does so only for persons to whom it is so related
        or affiliated and if the principal business of such person is not the collection of
        debts;

               (C) any officer or employee of the United States or any State to the extent
        that collecting or attempting to collect any debt is in the performance of his official
        duties;

               (D) any person while serving or attempting to serve legal process on any
        other person in connection with the judicial enforcement of any debt;

              (E) any nonprofit organization which, at the request of consumers, performs
        bona fide consumer credit counseling and assists consumers in the liquidation of
        their debts by receiving payments from such consumers and distributing such
        amounts to creditors; and

               (F) any person collecting or attempting to collect any debt owed or due or
        asserted to be owed or due another to the extent such activity

                    (i) is incidental to a bona fide fiduciary obligation or a bona fide
        escrow arrangement;

                     (ii) concerns a debt which was originated by such person;

                     (iii) concerns a debt which was not in default at the time it was
        obtained by such person; or

                   (iv) concerns a debt obtained by such person as a secured party in a
        commercial credit transaction involving the creditor.

        (7) The term “location information” means a consumer’s place of abode and his
        telephone number at such place, or his place of employment.

        (8) The term “State” means any State, territory, or possession of the United States,
        the District of Columbia, the Commonwealth of Puerto Rico, or any political
        subdivision of any of the foregoing.



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